     Case 3:18-cv-02282-L-MSB Document 167 Filed 03/08/21 PageID.2586 Page 1 of 3




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 7
 8                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
 9
10 THE ESTATE OF PAUL SILVA by CASE NO. 18-cv-02282-L-MSB
   and through its successors-in-
11
   interest LESLIE ALLEN and
12 MANUEL SILVA, MANUEL
13 SILVA, and LESLIE ALLEN,       PLAINTIFFS’ NOTICE OF
                                  SETTLEMENT WITH THE
14             Plaintiffs,        COUNTY DEFENDANTS
15
   v.
16
17 CITY OF SAN DIEGO et al.,
18
                Defendants.
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     Case 3:18-cv-02282-L-MSB Document 167 Filed 03/08/21 PageID.2587 Page 2 of 3




 1         Plaintiffs provide this notice that the case has been settled with Defendants
 2   County of San Diego, William Gore, Alfred Joshua, M.D., Anthonny Adraneda,
 3   Barbara Lee, Laura Coyne, Michael Lawson, John Douthitt, Julio Rodriguez,
 4   Charles Delacruz, Diego Lopez, Aaron Vrabel, Jorge Enciso, Tanner Sherman,
 5   Christopher Simms, Ryan Seabron, Harvey Seeley, Cesar Ceballos and Joseph
 6   Navarro. Under the terms of the settlement agreement, Plaintiffs will move to
 7   dismiss this action with prejudice against these defendants upon receipt of the
 8   settlement amount.
 9
10                                          Respectfully submitted,
11   Dated: March 8, 2021                  IREDALE & YOO, APC
12                                         /s/ Julia Yoo
13                                         Eugene Iredale
                                           Julia Yoo
14                                         Grace Jun
15                                         Attorneys for Plaintiffs
16                                         Estate of Paul Silva et al.

17   Dated: March 8, 2021                  THOMAS E. MONTGOMERY, County
18                                         Counsel
19                                         /s/ Robert A. Ortiz
20                                         Robert A. Ortiz, Esq.
                                           Senior Deputy County Counsel
21
                                           Attorneys for Defendants
22                                         County of San Diego et al.
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                                     18-cv-2282-L-MSB
     Case 3:18-cv-02282-L-MSB Document 167 Filed 03/08/21 PageID.2588 Page 3 of 3




 1                                   CERTIFICATION
 2         I, Julia Yoo, certify that the contents of this joint motion are acceptable to all
 3   persons required to sign the document. I have obtained each person’s authorization
 4   to affix his/her electronic signature to this document.
 5
 6   Dated: March 8, 2021                     /s/ Julia Yoo
                                              Counsel for Plaintiffs
 7                                            Estate of Paul Silva et al.
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